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                                      EXHIBIT A

                                    Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors. 1                          (Jointly Administered)

                                                                       Related Docket No.

                      ORDER AUTHORIZING DEBTORS TO
         FILE UNDER SEAL CERTAIN INFORMATION RELATED TO DEBTORS’
         MOTION TO APPROVE MODIFIED KEY EMPLOYEE INCENTIVE PLAN

         Upon consideration of the motion (the “Motion to Seal”)2 of the above-captioned debtors

and debtors-in-possession (collectively, the “Debtors”), for the entry of an order (this “Order”),

pursuant to sections 105(a) and 107(b) of the Bankruptcy Code, Bankruptcy Rule 9018, and

Local Rule 9018-1, authorizing the Debtors to file under seal Exhibit 1 to the proposed order

granting the Debtors’ Motion for an Order Approving Modified Key Employee Incentive Plan for

Senior Leadership Employees (the “Modified KEIP Motion”); and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2), and this Court having found that venue of this proceeding and the Motion to Seal in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the Debtors’ notice of the Motion to Seal and opportunity for a hearing on the Motion to Seal


1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor
    Amyris Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885
    Hollis Street, Suite 100, Emeryville, CA 94608.
2
    A capitalized term used but not defined herein have the meanings ascribed to it in the Motion to Seal.



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were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion to Seal and having heard the statements in support of the relief

requested therein at an interim hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion to Seal and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.        The Motion to Seal is GRANTED, as set forth herein.

         2.        The Debtors are authorized to file Exhibit 1 to the proposed order on the Modified

KEIP Motion under seal, and such seal shall be maintained pursuant to Local Rule 9018-1. The

sealed portions shall remain strictly confidential and use of such information shall be subject to

Local Rule 9018-1.

         3.        Unredacted versions of the Modified KEIP Motion shall not be disseminated to

anyone other than: (a) the Court; (b) the Committee; (c) the U.S. Trustee; (d) the DIP Lender;

and (e) the Prepetition Lenders, without either: (i) the express consent of the Debtors; or (ii)

further order of the Court, which order shall not be granted without notice and an opportunity to

object being provided to the Debtors. Such parties shall be bound by this Order and shall keep

confidential all information in the sealed portions of the Modified KEIP Motion. Such parties

shall not disclose the contents thereof to any party whatsoever.

         4.        The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         5.        The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion to Seal.



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         6.        The Court retains jurisdiction with respect to all matters arising from or relating to

the implementation, interpretation, and enforcement of this Order.




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